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Exhibit 2-F

Form Ballot for Class A11
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Energy Future Holdings Corp., et al.
Ballot for Class Al] - TCEH Settlement Claim

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,! Case No. 14-10979 (CSS)

Debtors. Jointly Administered

Nee Ne Ne Nee ee ee ee ee”

BALLOT FOR ACCEPTING OR REJECTING THE
FIRST AMENDED JOINT PLAN OF REORGANIZATION OF ENERGY FUTURE
HOLDINGS CORP., ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC,
AND THE EFH/EFIH DEBTORS PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

CLASS A111 - TCEH SETTLEMENT CLAIM

e IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING PROCEDURES,
PLEASE CALL THE DEBTORS’ SOLICITATION AGENT, EPIQ BANKRUPTCY SOLUTIONS, LLC
(THE “SOLICITATION AGENT”) AT (877) 276-7311 OR E-MAIL EFHVOTE@EPIQSYSTEMS.COM
AND REFERENCE “EFH/EFIH” IN THE SUBJECT LINE.

e PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS CAREFULLY BEFORE
COMPLETING THIS BALLOT. THIS BALLOT IS BEING SUBMITTED TO YOU TO SOLICIT YOUR
VOTE TO THE DEBTORS’ PLAN (INCLUDING THE RELEASES CONTAINED IN ARTICLE VIII OF
THE PLAN).

e THIS BALLOT MUST BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BEFORE
4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017 (THE “VOTING DEADLINE”).

e IF THE COURT CONFIRMS THE PLAN, IT WILL BIND YOU REGARDLESS OF WHETHER YOU
HAVE VOTED.

e NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO MAKE
ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE MATERIALS MAILED WITH
THIS BALLOT.

Energy Future Holdings Corp. (“EFH Corp.”), certain of its direct and indirect subsidiaries (together with EFH
Corp., the “EFH Debtors”),? Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc.
(together with EFIH, the “EFIH Debtors,” and together with the EFH Debtors, the “EFH/EFIH Debtors”) are

! The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

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Energy Future Holdings Corp., et al.
Ballot for Class All - TCEH Settlement Claim

soliciting votes with respect to the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the
Bankruptcy Code (as may be modified, amended, or supplemented from time to time, the “Plan”).

This ballot (the “Ballot”) is being sent to you because records indicate that you are a TCEH Supporting First Lien
Creditor as of SEPTEMBER 6, 2017 (the “Voting Record Date”), and, accordingly, you may have a right to vote to
accept or reject the Plan. This Ballot may not be used for any purpose other than for submitting votes with respect
to the Plan.

The Disclosure Statement for the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the
Bankruptcy Code and all exhibits related thereto (as may be modified, amended, or supplemented from time to time,
the “EFH Disclosure Statement”) describe the rights and treatment for each Class. The Plan and EFH Disclosure
Statement are included in the packet you are receiving with this Ballot (collectively, the “Solicitation Package”).

You should carefully and thoroughly review the EFH Disclosure Statement and Plan before you vote to accept or
reject the Plan. You may wish to seek legal advice concerning the Plan and classification and treatment of your
Claim under the Plan. Your Claim has been placed in Class All under the Plan. Attached as an exhibit to the EFH
Disclosure Statement is the EFH Disclosure Statement Order which contains the Solicitation Procedures which
govern the solicitation and tabulation of votes to accept or reject the Plan.

THE VOTING DEADLINE IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017.

Item 1. Amount of Class Al1 - TCEH Settlement Claim.

For purposes of voting such Class Al1 Claims, the undersigned hereby certifies that as of the TCEH Effective Date
(as defined in the Plan), the undersigned was (i) a member of the TCEH First Lien Ad Hoc Committee and party to

the Plan Support Agreement and (ii) the Holder of Class C3 - TCEH First Lien Secured Claim(s) in the following
aggregate principal amount:

Claim Amount for Voting:? $

Item 2. Vote of Class All - TCEH Settlement Claim.

The Holder of the Claim set forth in Item 1 votes to:
Check one box: L) Accept the Plan

L) Reject the Plan

3 For voting purposes only; subject to tabulation rules.
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Energy Future Holdings Corp., et al.
Ballot for Class Al1 - TCEH Settlement Claim

ARTICLE VIILD OF THE PLAN PROVIDES FOR THE FOLLOWING RELEASES BY HOLDERS OF

CLAIMS AND INTERESTS (THE “RELEASES”):

EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, AS OF THE EFH EFFECTIVE
DATE, EACH RELEASING PARTY IS DEEMED TO HAVE RELEASED AND
DISCHARGED EACH DEBTOR, REORGANIZED EFH/EFIH DEBTOR, AND
RELEASED PARTY FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION,
INCLUDING CLAIMS AND CAUSES OF ACTION IDENTIFIED, CLAIMED, OR
RELEASED IN THE STANDING MOTIONS, THE LITIGATION LETTERS, OR THE
DISINTERESTED DIRECTORS SETTLEMENT, AS WELL AS ALL OTHER CLAIMS
AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY
DERIVATIVE CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS, THAT SUCH
ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS (INCLUDING
THE MANAGEMENT, OWNERSHIP OR OPERATION THEREOF), THE DEBTORS’
IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS, INTERCOMPANY
TRANSACTIONS (INCLUDING DIVIDENDS PAID), TRANSACTIONS PURSUANT
AND/OR RELATED TO THE MASTER SEPARATION AGREEMENT DATED
DECEMBER 12, 2001, THE TCEH CREDIT AGREEMENT, THE TCEH FIRST LIEN
NOTES, THE CASH COLLATERAL ORDER (AND ANY PAYMENTS OR TRANSFERS
IN CONNECTION THEREWITH), THE TCEH FIRST LIEN INTERCREDITOR
AGREEMENT, THE LIABILITY MANAGEMENT PROGRAM, THE TAX SHARING
AGREEMENTS, THE 2007 ACQUISITION, THE MANAGEMENT AGREEMENT, THE
2009 AMENDMENT TO THE TCEH CREDIT AGREEMENT, THE 2011 AMEND AND
EXTEND TRANSACTIONS, THE 2005 ONCOR TRANSFER, THE 2013 REVOLVER
EXTENSION, THE LUMINANT MAKEWHOLE SETTLEMENT, THE TAX AND
INTEREST MAKEWHOLE AGREEMENTS, THE TCEH INTERCOMPANY NOTES,
THE SHARED SERVICES, ANY PREFERENCE OR AVOIDANCE CLAIM PURSUANT
TO SECTIONS 544, 547, 548, AND 549 OF THE BANKRUPTCY CODE, THE
FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING OF
THE TERMINATED RESTRUCTURING SUPPORT AGREEMENT, THE PLAN
SUPPORT AGREEMENT, THE NEE PLAN SUPPORT AGREEMENT, THE EFIH
UNSECURED CREDITOR PLAN SUPPORT AGREEMENT, THE SEMPRA PLAN
SUPPORT AGREEMENT, THE EFH/EFIH COMMITTEE SETTLEMENT, THE EFIH
SETTLEMENT AGREEMENT, THE EFIH FIRST LIEN PRINCIPAL SETTLEMENT,
THE ORIGINAL CONFIRMED PLAN, THE NEXTERA PLAN, OR ANY
RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL
OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION,
CONTRACT, INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT
CONTEMPLATED BY THE PLAN OR THE RELIANCE BY ANY RELEASED PARTY
ON THE PLAN OR THE EFH CONFIRMATION ORDER IN LIEU OF SUCH LEGAL
OPINION) CREATED OR ENTERED INTO IN CONNECTION WITH THE PLAN
SUPPORT AGREEMENT, THE NEE PLAN SUPPORT AGREEMENT, THE EFIH
UNSECURED CREDITOR PLAN SUPPORT AGREEMENT, THE SEMPRA PLAN
SUPPORT AGREEMENT, THE EFIH SETTLEMENT AGREEMENT, THE EFH/EFIH
COMMITTEE SETTLEMENT, THE PIK SETTLEMENT (WHETHER TERMINATED
PURSUANT TO ITS TERMS OR OTHERWISE) AND ANY DIRECTION TAKEN BY
THE EFIH UNSECURED NOTES TRUSTEE IN CONNECTION THEREWITH (PRIOR
TO TERMINATION), THE TERMINATED RESTRUCTURING SUPPORT
AGREEMENT, THE EFH DISCLOSURE STATEMENT, THE TCEH DISCLOSURE
STATEMENT, THE PLAN, THE TRANSACTION AGREEMENTS, THE DIP
FACILITIES, THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11 CASES,
THE PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE

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Energy Future Holdings Corp., ef al.
Ballot for Class All - TCEH Settlement Claim

ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR THE
DISTRIBUTION OF PROPERTY UNDER THE PLAN, THE TRANSACTION
AGREEMENTS, OR ANY OTHER RELATED AGREEMENT, OR UPON ANY OTHER
ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFH EFFECTIVE DATE
RELATED OR RELATING TO THE FOREGOING. NOTWITHSTANDING ANYTHING
TO THE CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE
DO NOT RELEASE (1) ANY POST-EFH EFFECTIVE DATE OBLIGATIONS OF ANY
PARTY OR ENTITY UNDER THE PLAN, (DANY RESTRUCTURING
TRANSACTION, (II) ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
(INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
IMPLEMENT THE PLAN, AND (IV) THE CLAIMS AND CAUSES OF ACTION SET
FORTH IN SECTION 6.12 OF THE PARENT DISCLOSURE LETTER DELIVERED IN
CONNECTION WITH THE NEE MERGER AGREEMENT; PROVIDED, HOWEVER,
THAT SUCH CLAIMS AND CAUSES OF ACTION SET FORTH IN SECTION 6.12 OF
SUCH PARENT DISCLOSURE LETTER DELIVERED IN CONNECTION WITH THE
NEE MERGER AGREEMENT SHALL BE SUBJECT TO TREATMENT PURSUANT TO
THE PLAN AND SHALL BE DISCHARGED AS SET FORTH IN ARTICLE VIILA OF
THE PLAN. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE ANY
CLAIMS OR CAUSES OF ACTION AGAINST ONE OR MORE OF NEXTERA AND ITS
CURRENT AND FORMER SUBSIDIARIES (THE “NEE RELEASED
PARTIES”) RELATING TO THE PURSUIT OF APPROVAL OF THE TRANSACTIONS
CONTEMPLATED IN THE ORIGINAL CONFIRMED PLAN UNCLUDING, FOR THE
AVOIDANCE OF DOUBT, CLAIMS OR CAUSES OF ACTION REGARDING THE
EFFECT OF THE FILING OF DOCKET NO. 7028 ON APPROVAL OF THE
TRANSACTIONS CONTEMPLATED IN THE ORIGINAL CONFIRMED PLAN) OR
CLAIMS OR CAUSES OF ACTION THAT MAY BE BROUGHT BY ONE OR MORE
OF THE NEE RELEASED PARTIES AGAINST ANY PARTY WHO BRINGS A CLAIM
OR CAUSE OF ACTION AGAINST THE NEE RELEASED PARTIES RELATING TO
THE PURSUIT OF APPROVAL OF THE TRANSACTIONS CONTEMPLATED IN THE
ORIGINAL CONFIRMED PLAN; PROVIDED, HOWEVER, FOR THE AVOIDANCE OF
DOUBT, THAT ANY RELEASES SET FORTH ABOVE SOLELY TO THE EXTENT
APPLICABLE PURSUANT TO THE TERMS SET FORTH ABOVE, SHALL APPLY TO
THE NEE RELEASED PARTIES’ CURRENT AND FORMER DIRECTORS,
MANAGERS, OFFICERS, INDIVIDUAL EQUITY HOLDERS (REGARDLESS OF
WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR INDIRECTLY),
ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS,
REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR CAPACITY
AS SUCH. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, AND FOR THE AVOIDANCE OF DOUBT, THE TCEH SETTLEMENT
CLAIM SHALL BE TREATED, RELEASED, AND DISCHARGED ON THE EFH
EFFECTIVE DATE. FOR THE AVOIDANCE OF DOUBT, (1) THE RELEASING
PARTIES PROVIDED THE RELEASE SET FORTH IN ARTICLE VIII.D OF THE PLAN
FOR ALL CLAIMS AND CAUSES OF ACTION THAT RELATE TO THE TCEH
DEBTORS, REORGANIZED TCEH DEBTORS, EFH SHARED SERVICES DEBTORS,
REORGANIZED EFH SHARED SERVICES DEBTORS, OR ANY NON-DEBTOR
AFFILIATE TO BE TRANSFERRED TO THE REORGANIZED TCEH DEBTORS,
INCLUDING EFH PROPERTIES COMPANY, AS OF THE TCEH EFFECTIVE DATE;
AND (ID THE RELEASING PARTIES SHALL PROVIDE THE RELEASE SET FORTH
IN ARTICLE VIILD OF THE PLAN FOR ALL CLAIMS AND CAUSES OF ACTION
THAT RELATE TO THE EFH DEBTORS, REORGANIZED EFH DEBTORS, EFIH
DEBTORS, OR REORGANIZED EFIH DEBTORS AS OF THE EFH EFFECTIVE DATE;
PROVIDED THAT ANY AND ALL INTERCOMPANY CLAIMS (OTHER THAN THE
TCEH SETTLEMENT CLAIM) HELD BY OR HELD AGAINST THE TCEH DEBTORS,
REORGANIZED TCEH DEBTORS, EFH SHARED SERVICES DEBTORS,

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Energy Future Holdings Corp., et al.
Ballot for Class Ali - TCEH Settlement Claim

REORGANIZED EFH SHARED SERVICES DEBTORS, OR ANY NON-DEBTOR
AFFILIATE TO BE TRANSFERRED TO THE REORGANIZED TCEH DEBTORS,
INCLUDING EFH PROPERTIES COMPANY, WERE RELEASED AS OF THE TCEH
EFFECTIVE DATE.

IMPORTANT INFORMATION REGARDING THE RELEASES:

UNDER THE PLAN, “RELEASING PARTIES’ MEANS, COLLECTIVELY, AND IN EACH CASE
ONLY IN ITS CAPACITY AS SUCH: (A) THE EFH/EFIH PLAN SUPPORTERS; (B) EFH MERGER SUB; (C)
INTERMEDIARY HOLDCO; (D) PARENT; (E) THE PLAN SPONSOR; (F) THE BACKSTOP PARTIES; (G)
HOLDERS OF TCEH FIRST LIEN CLAIMS; (H) HOLDERS OF TCEH SECOND LIEN NOTE CLAIMS;
(1) HOLDERS OF TCEH UNSECURED NOTE CLAIMS; (J) HOLDERS OF EFH LEGACY NOTE CLAIMS;
(K) HOLDERS OF EFH UNEXCHANGED NOTE CLAIMS; (L) HOLDERS OF EFH LBO NOTE PRIMARY
CLAIMS; (M) HOLDERS OF EFIH UNSECURED NOTE CLAIMS; (N) HOLDERS OF EFH LBO NOTE
GUARANTY CLAIMS; (0) THE DIP LENDERS; (P) THE TCEH FIRST LIEN AGENT; (Q) THE INDENTURE
TRUSTEES; (R) THE DEALER MANAGERS; (S) TEF; (T) TEXAS HOLDINGS; (U) ONCOR; (V) FUNDS
AND ACCOUNTS MANAGED OR ADVISED BY KOHLBERG KRAVIS ROBERTS & CO., L.P., TPG
CAPITAL, L.P. OR GOLDMAN, SACHS & CO. THAT HOLD DIRECT OR INDIRECT INTERESTS IN TEXAS
HOLDINGS, TEF, OR EFH CORP.; (W) THE COMMITTEES AND EACH OF THEIR RESPECTIVE
MEMBERS; (X) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE TCEH DEBTORS OTHER
THAN EFCH; (Y) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST EFCH; (Z) HOLDERS OF
EFIH FIRST LIEN NOTE CLAIMS; (AA) HOLDERS OF EFIH SECOND LIEN NOTE CLAIMS; (BB)
HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE EFIH DEBTORS; (CC) HOLDERS OF
GENERAL UNSECURED CLAIMS AGAINST EFH CORP.; (DD) HOLDERS OF GENERAL UNSECURED
CLAIMS AGAINST THE EFH DEBTORS OTHER THAN EFH CORP.; (EE) HOLDERS OF GENERAL
UNSECURED CLAIMS AGAINST THE EFH SHARED SERVICES DEBTORS; (FF) ALL HOLDERS OF
CLAIMS AND INTERESTS THAT ARE DEEMED TO ACCEPT THE PLAN; (GG) ALL HOLDERS OF
CLAIMS AND INTERESTS WHO VOTE TO ACCEPT THE PLAN; (HH) ALL HOLDERS IN VOTING
CLASSES WHO ABSTAIN FROM VOTING ON THE PLAN AND WHO DO NOT OPT OUT OF THE
RELEASES PROVIDED BY THE PLAN; (Il) THE ORIGINAL PLAN SPONSORS; (JJ) OV2; (KK) ANY
AGENT UNDER THE EXIT FACILITIES; (LL) THE ROLLOVER TRUST TRUSTEE; (MM) THE NON-
ROLLOVER TRUST TRUSTEE; (NN) WITH RESPECT TO EACH OF THE DEBTORS (AND, PRIOR TO THE
TCEH EFFECTIVE DATE, THE TCEH DEBTORS AND THE EFH SHARED SERVICES DEBTORS), THE
REORGANIZED TCEH DEBTORS, THE REORGANIZED EFH SHARED SERVICES DEBTORS, AND THE
REORGANIZED EFH/EFIH DEBTORS, AND EACH OF THE FOREGOING ENTITIES IN CLAUSES (A)
THROUGH (MM), SUCH ENTITY AND ITS CURRENT AND FORMER AFFILIATES, AND SUCH
ENTITIES’ AND THEIR CURRENT AND FORMER AFFILIATES’ CURRENT AND FORMER DIRECTORS,
MANAGERS, OFFICERS, EQUITY HOLDERS (REGARDLESS OF WHETHER SUCH INTERESTS ARE
HELD DIRECTLY OR INDIRECTLY), PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES,
AND EACH OF THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD
MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT
BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR
CAPACITY AS SUCH; AND (OO) ALL HOLDERS OF CLAIMS AND INTERESTS, SOLELY WITH RESPECT
TO RELEASES OF ALL HOLDERS OF INTERESTS IN EFH CORP. AND THEIR CURRENT AND FORMER
AFFILIATES, AND SUCH ENTITIES’ AND THEIR AFFILIATES’ CURRENT AND FORMER EQUITY
HOLDERS (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR INDIRECTLY),
PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND THEIR CURRENT AND FORMER
OFFICERS, DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY
BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT
BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR
CAPACITY AS SUCH.
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Ballot for Class Al] - TCEH Settlement Claim

AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO PROVIDE THE

RELEASES CONTAINED IN ARTICLE VIILD OF THE PLAN, AS SET FORTH ABOVE.

Item 4. Certifications.

Upon execution of this Ballot, the undersigned certifies that:

a.

as of the TCEH Effective Date, the undersigned was the Holder of Claims set forth in Item 1 above and/or
it has full power and authority to vote to accept or reject the Plan;

the Holder has received a copy of the EFH Disclosure Statement, the Plan, and the remainder of the
Solicitation Package and acknowledges that the solicitation is being made pursuant to the terms and
conditions set forth therein;

the Holder has not relied on any statement made or other information received from any person with
respect to the Plan other than the information contained in the Solicitation Package or other publicly
available materials;

the Holder has cast the same vote with respect to all of the Holder’s claims in this Class;

the Holder understands and acknowledges that if multiple Ballots are submitted voting the same claim, only
the last properly completed Ballot received before the Voting Deadline shall be deemed to reflect the
voter’s intent and thus to supersede and revoke any prior Ballots received by the Solicitation Agent; and

the Holder understands and acknowledges that all authority conferred or agreed to be conferred pursuant to
this Ballot, and every obligation of the Holder hereunder, shall be binding upon the transferees, successors,
assigns, heirs, executors, administrators, and legal representatives of the Holder and shall not be affected
by, and shal! survive, the death or incapacity of the Holder.

[Remainder of page intentionally left blank.]
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Energy Future Holdings Corp., et al.
Ballot for Class Al] - TCEH Settlement Claim

Item 5. Claim Holder Information and Signature.

Name of Claim Holder:

(print or type)

Signature:

Name of Signatory:

(if other than Claim Holder)

If by Authorized Agent, Title of Agent:

Address:

Date Completed:

PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT PROMPTLY
IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

If by First Class Mail to: If by Overnight Courier or Personal Delivery:
EFH/EFIH Ballot Processing EFH/EFIH Ballot Processing

c/o Epiq Bankruptcy Solutions, LLC c/o Epiq Bankruptcy Solutions, LLC

P.O. Box 4422 10300 SW Allen Boulevard

Beaverton, OR 97076-4422 Beaverton, OR 97005

YOUR BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE, WHICH IS
4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017.

BALLOTS RECEIVED VIA EMAIL OR FACSIMILE WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING INSTRUCTIONS,
PLEASE CALL THE DEBTORS’ SOLICITATION AGENT,
EPIQ BANKRUPTCY SOLUTIONS, LLC, AT (877) 276-7311 OR EMAIL
EFHVOTE@EPIQSYSTEMS.COM AND REFERENCE “EFH/EFITH” IN THE SUBJECT LINE.

[Remainder of page intentionally left blank_]

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Energy Future Holdings Corp., et al.
Ballot for Class All - TCEH Settlement Claim

VOTING INSTRUCTIONS FOR CLASS ALI - TCEH SETTLEMENT CLAIM

As described in the Disclosure Statement, the Debtors are soliciting the votes of Holders of Claims in
Voting Classes with respect to the Plan referred to in the EFH Disclosure Statement. The Plan and EFH
Disclosure Statement are included in the Solicitation Package you are receiving with the Ballot.
Capitalized terms used but not defined herein shall have the meanings assigned to them in the Plan.
PLEASE READ THE PLAN AND THE EFH DISCLOSURE STATEMENT CAREFULLY
BEFORE COMPLETING THIS BALLOT. You may wish to seek legal advice concerning the Plan and
the treatment of your claim or claims under the Plan.

The Plan can be confirmed by the Court and thereby made binding upon you if it is accepted by the Holders
of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation
provided by section 1129(a) of the Bankruptcy Code.

To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your decision either to
accept or reject the Plan in Item 2 of the Ballot; and (c) sign and return the Ballot so that it is actually
received by the Voting Deadline. Ballots will not be accepted by email, facsimile or other electronic
means.

The time by which a Ballot is actually received by the Solicitation Agent shall be the time used to
determine whether a Ballot has been submitted by the Voting Deadline. The Voting Deadline is
October 30, 2017, at 4:00 p.m., prevailing Eastern Time.

If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors determine
otherwise or as permitted by applicable law or court order. In all cases, Holders should allow sufficient
time to assure timely delivery. No Ballot should be sent to the Debtors or the Debtors’ financial or legal
advisors. A Ballot will not be counted unless received by the Solicitation Agent.

The Holder understands and acknowledges that if multiple Ballots are submitted voting the same claim,
only the last properly completed Ballot received before the Voting Deadline shall be deemed to reflect the
voter’s intent and thus to supersede and revoke any prior Ballots received by the Solicitation Agent.

If a Holder holds a Claim or Interest, as applicable, in a Voting Class against multiple Debtors, a vote on
their Ballot will apply to all Debtors against whom such Holder or Nominee has a Claim or Interest, as
applicable, in that Voting Class.

If a voter simultaneously casts inconsistent duplicate Ballots, with respect to the same Claim, such Ballots
shall not be counted.

The Ballot is not a letter of transmittal and may not be used for any purpose other than to vote to accept or
reject the Plan and to make certain certifications with respect thereto. Accordingly, at this time, creditors
should not surrender certificates or instruments representing or evidencing their Claims, and the Debtors
will not accept delivery of any such certificates or instruments surrendered together with a Ballot.

The Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim or Interest; or (b) an
assertion or admission with respect to any Claim or Interest.

Please be sure to sign and date your Ballot. If you are completing the Ballot on behalf of an Entity, indicate
your relationship with that Entity and the capacity in which you are signing.

You must vote your entire Claim in a Class to either to accept or reject the Plan and may not split your
vote. Accordingly, a Ballot that partially rejects and partially accepts the Plan will not be counted.
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Energy Future Holdings Corp., et al.
Ballot for Class Al1 - TCEH Settlement Claim

Any Ballot that is properly completed, executed and timely returned to the Debtors that fails to indicate
acceptance or rejection of the Plan or that indicates both an acceptance and a rejection of the Plan will not
be counted.

The following Ballots will not be counted in determining the acceptance or rejection of the Plan: (a) any
Ballot that is illegible or contains insufficient information to permit the identification of the Claim Holder;
(b) any Ballot cast by a Person or Entity that does not hold a Claim or Interest in a Class that is entitled to
vote on the Plan; (c) any unsigned Ballot; (d) any Ballot not marked to accept or reject the Plan, or marked
both to accept and reject the Plan; and/or (e) any Ballot submitted by a party not entitled to cast a vote with
respect to the Plan.

If you hold Claims or Interests in more than one Class under the Plan or for different Claims within a Class
you may receive more than one Ballot. Each Ballot votes only your Claims indicated on that Ballot. Please
complete and return each Ballot you receive.

If a Claim for which a Proof of Claim has been timely filed for unknown or undetermined amounts, or is
wholly unliquidated, or contingent or disputed (as determined (i) on the face of your Claim, (ii) pursuant to
the Plan, or (iii) after a reasonable review of the supporting documentation by the Debtors or the
Solicitation Agent) and such Claim has not been allowed, your Claim shall be temporarily allowed for
voting purposes only, and not for purposes of allowance or distribution, at $1.00; provided, that with
respect to (iii), any such determinations will be documented in the Voting Report.

For purposes of the numerosity requirement of section 1126(c) of the Bankruptcy Code, separate Claims
held by a single Creditor in a particular Class will be aggregated and treated as if such Creditor held one
Claim in such Class, and all votes related to such Claim will be treated as a single vote to accept or reject
the Plan; provided, however, that if separate affiliated entities hold Claims in a particular Class, these
Claims will not be aggregated and will not be treated as if such Creditor held one Claim in such Class, and
the vote of each affiliated entity will be counted separately as a vote to accept or reject the Plan.

PLEASE SUBMIT YOUR BALLOT PROMPTLY!

If you have any questions regarding this Baliot, or if you did not receive a copy of the EFH

Disclosure Statement or Plan, or if you need additional copies of the enclosed materials, please contact the
Solicitation Agent by phone at (877) 276-7311 or via email to efhvote@epiqsystems.com and reference
“EFH/EFIH” in the subject line.

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